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15

16
                                  UNITED STATES DISTRICT COURT
17
                                         DISTRICT OF NEVADA
18
     NEVADA POWER COMPANY d/b/a NV Energy                  Case No. 2:19-cv-01252
19   and SIERRA PACIFIC POWER COMPANY
     d/b/a NV Energy,
20                                                         STIPULATION TO EXTEND TIME TO
                           Plaintiffs,                     FILE REPLY BRIEF IN SUPPORT OF
21                                                         TRENCH FRANCE’S MOTION TO
     v.                                                    APPOINT COMMISSIONER FOR
22                                                         DISCOVERY IN FRANCE (ECF No.
     TRENCH FRANCE, S.A.S. and TRENCH                      106)
23   LIMITED,
                                                           (First Request)
24                         Defendants.

25

26
27           Defendant Trench France, S.A.S (“Trench France”) filed its Motion to Appoint Commissioner
28   For Discovery In France on August 4, 2020. See ECF No. 106. Plaintiffs filed their opposition to the

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1    Motion to Appoint Commissioner on August 18, 2020. See ECF No. 107. The current deadline for

2    Trench France to file a reply in support of the Motion to Appoint Commissioner is August 25, 2020.

3             Plaintiffs and Trench France, by and through their respective counsel undersigned, hereby

4    stipulate and respectfully request an order to extend the deadline for it to submit a reply brief in

5    support of the Motion to Appoint Commissioner by ten (10) days, up to and including September 4,

6    2020.

7             Given the complexity of the issues involved in the Motion to Appoint Commissioner and

8    Plaintiff’s opposition to that motion, as well as the counsel for the Trench Defendants’ preparation of

9    a document production in compliance with this Court’s orders allowing jurisdictional discovery,

10   Trench France reasonably requires additional time to prepare its reply brief in support of the Motion

11   to Appoint Commissioner. This extension request is made in good faith and not for the purpose of

12   delay.

13            DATED this 26th day of August, 2020.

14    SANTORO WHITMIRE                                   BOWMAN AND BROOKE LLP

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      By: /s/James E. Whitmire (with permission)         By: /s/Curtis J. Busby
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24         Attorneys for Plaintiffs                          S.A.A. and Trench Limited

25   IT IS SO ORDERED:
                         8-28-2020
26            DATED:_____________________________
27   IT IS HEREBY ORDERED
     that ECF No. 110 is                   UNITED STATES MAGISTRATE JUDGE
28
     DENIED as MOOT.
                                                   2
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